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           UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK


                                       Filed Electronically



                                       Civil Action No.:
                                       1:17-cv-1175-ALC




DEFENDANT GENESYS ID, INC.'S MEMORANDUM OF LAW
      IN SUPPORTOF IT’S MOTION TO DISMISS




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            Defendant GeneSYS ID Inc. ("GNID") submits this brief in Support of its Motion to

    Dismiss for Lack of Original Jurisdiction and alternatively, under F.R.C.P. 12(b)(1), 12(b)(3)

    for dismissal for improper venue and Forum Non-Conveniens.

                                  PRELIMINARY STATEMENT

            This is a breach of contract case regarding a $35,000.00, 8% Convertible Note

    ("Note"), and a Securities Purchase Agreement (“SPA”) between the parties.1 Plaintiff

    claims that GNID failed to convert part of the principle of the Note into shares of GNID

    common stock and is in default of the Notes terms and is seeking in excess of $150,000.00

    in damages for its breach.

            For plaintiff to assert its state law claims in federal court, it must first establish the

    legal requirements for original jurisdiction.

            As to original jurisdiction based on diversity, a party must demonstrate to a legal

    certainty an amount in controversy is in excess of $75,000 not including interest and costs.

    The party claiming proper jurisdiction must also prove diversity of the parties. As to the

    amount in controversy, the Note entered into between the parties is for $35,000 with an 8%

    interest rate.   Assuming a breach of the Securities Purchase Agreement and the Note, the

    amount owed on the principle and interest is far below the jurisdictional amount. The Securities

    Purchase Agreement and Note provide a convoluted and oppressive penalty formula in the

    event of default. However, those penalties resulting from an alleged default are not part of the

    calculation for the purpose of determining the amount in controversy as well as a recent

    decision in this district that threw out the exact same types of penalties as being unconscionable

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  A true copy of the Amended Complaint, Note and Stock Purchase Agreement are annexed to
the Declaration of Mark R. Basile, Esq. filed in support of this motion.
                                                                                                         1
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and against New York’s public policies.

        As such, they cannot be included in the calculation for the amount in controversy.

Additionally, each of the Note and Stock Purchase Agreement have separate forum selection

clauses, however, only the Note’s forum selection clause is applicable in this action.

                                  STATEMENT OF FACTS

       The Parties

       According to the Amended Complaint, plaintiff is "a Florida limited liability

company." (See Amended Complaint, DKT#18 at ¶1. The Amended Complaint properly

alleges that GNID is "a Nevada corporation." (See Id at ¶2).

      The Complaint

       Plaintiff alleges that this Court has original jurisdiction pursuant to 28 U.S.C.

§1332(a)(2). (See DKT# 18 at ¶3). The Complaint, however, does not identify the

citizenship for each of the members of plaintiff sufficiently to establish diversity jurisdiction

because it’s a generic statement as to citizenship without the necessary detail required by the

courts. (Id.). Instead, plaintiff claims in its First Claim for Relief $150,000 in damages for

breach of the SPA, (id. at ¶52); in its Second Claim for Relief $150,000 in damages for

breach of the Note, (id. at ¶58) and in its Third Claim for Relief, $150,000.00 in damages

for Unjust Enrichment,( id. at ¶62) and in its Fourth Claim for Relief, $150,000.00 in

Anticipatory Breach, (id. at ¶68). Notably, portions, if not all of each of the respective

claims have been found to violate New York public policy as being an unreasonable and

unconscionable penalties and cannot account towards the jurisdictional threshold of

$75,000.00, or the actual damage amount is fixed and is well below the required threshold.



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             The 8% Convertible Note

         The parties entered into an 8% Convertible Redeemable Note executed on May 24,

 2016. (See DKT#18, Ex.“B”.). The Note contains several provisions relevant to this motion.

         The Principal Amount & Interest

         As set forth in the Note, the principal amount of the Note is for $35,000.00. (Id.,

 Ex.” B”.) The Note states that defendant was to pay back the sum of $35,000.00 and to pay

 interest on the unpaid principal balance hereof at the rate of eight percent (8%) per annum

 (the "Interest Rate") from the date of issuance of the Note plus any and all accrued interest

 is paid in full. (Id. Ex.“B”.)

        The Note further provides that in the event of GNID's failure to pay the interest owed,

 the Note stated, "Interest shall accrue at a default interest rate of twenty-four (24%) per

 annum or, if such rate is usurious or not permitted by current law, then at the highest rate of

 interest permitted by law”. Id. The Note also has a forum selection clause stating “this Note

 shall be governed by and construed in accordance with the laws of New York applicable to

 contracts made and wholly to be performed within the State of New York and shall be

 binding upon the successors and assigns of each party hereto. The Holder and the Company

 hereby mutually waive trial by jury and consent to exclusive jurisdiction and venue in the

 courts of the State of New York ”. (Id. at ¶14.)

       Right of Conversion

       In addition to repayment by GNID in cash, the Note also provided for a right of

conversion into GNID’s common stock as an exclusive option of plaintiff. Paragraph 4 of the

Note states that "The Holder of this Note is entitled, at its option, after full cash payment for the

shares convertible hereunder, after 180 days from the date of the note, to convert all or any

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amount of the principal face amount of this Note then outstanding into shares of the Company's

common stock (the "Common Stock") at a price ("Conversion Price") for each share of Common

Stock equal to 65% (a 35% discount) of the lowest trading price. Id.¶4(a).

        Calculating The Conversion Price

        Paragraph 4(a) of the Note states that the debt can be converted into common stock “at a

price ("Conversion Price") for each share of Common Stock equal to 65% (a 35% discount) of

the lowest trading price of the Common Stock as reported on the National Quotations Bureau

OTCQB exchange which the Company’s shares are traded or any exchange upon which the

Common Stock may be traded in the future ("Exchange"), or the twenty prior trading days

including the day upon which a Notice of Conversion is received by the Company (provided

such Notice of Conversion is delivered by fax or other electronic method of communication to

the Company after 4 P.M. Eastern Standard or Daylight Savings Time if the Holder wishes to

include the same day closing price)." (Id. Ex. “B” at ¶4(a).) Stated differently, upon conversion,

plaintiff was entitled to a 35% discount in the trading price of GNID's Common Stock. In

addition to the 35% discount, plaintiff also had the ability to a further reduction in trading price

through a look back option. That option allowed plaintiff the ability to find the lowest trading

price in the preceding 20 days of trading from the date of the conversion and convert at 35% of the

lowest sale price in that period.

        Event Of Default Penalties

         Paragraph 8 of the Note sets forth the purported remedies in the event of default.

 ¶8(n) includes a default interest rate of 24%; $250.00 per day the shares are not issued, and

 after the 10th day of failure to issue, $500.00 per day; that outstanding principal will increase

 by 20% ¶8(n) and 50% ¶8(i);, as well as a “make-whole” provision that utilizes a formula to

 determine “loss” being Loss=[(high trade price at any time on or after the day of exercise) x

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(number of conversion shares)]. (Id., Ex. “B” at ¶8(n).)

           The Securities Purchase Agreement

       On May 24, 2016, the parties also entered into a Securities Purchase Agreement

(DKT#18, Ex.”A”.). In the Securities Purchase Agreement, the parties agreed that GNID

"desires to issue and sell to the Purchaser, [plaintiff,] and [GNID as] the Purchaser desires to

purchase from the Company a 8% Convertible Note of the Company, in the form attached

hereto as Exhibit A, in the principal amount of $35,000.00." Id., Ex.”A” at 1. The Securities

Purchase Agreement further provided that the $35,000 was to be "convertible into shares

("Conversion Shares") of common stock, $0.0001 par value per share (the "Common Stock"),

of the Company, upon the terms and subject to the limitations and conditions set forth in such

Note." (Id. Ex.”A”.)

       As to the terms, Paragraph 1 of the Securities Purchase Agreement was titled

"Purchase and Sale of Note." It provided that as to the purchase of the Note "[o]n each

Closing Date (as defined below), [GNID] shall issue and sell to [plaintiff], and [plaintiff]

agrees to purchase from [GNID], such principal amount of Note as is set forth immediately

below the buyers name on the signature pages hereto." (Id., Ex.”A”at 1, ¶1.) The signature

page reflects the amount as $35,000.00 less $2,000.00 in legal fees. (Id. Ex. “A” at pg. 11.)

       Jurisdictionally, The Securities Purchase Agreement also has a forum selection

clause that states that "Any action brought by any party against any other party hereto

concerning the transactions contemplated by this Agreement shall be brought only in the

state courts of New York or in the federal courts located in the State and county of New

York. (Id., Ex. A at ¶5(a).)

       The Securities Purchase Agreement further states that "[t]he parties to this Agreement


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hereby irrevocably waive any objection to jurisdiction and venue of any action instituted

hereunder and shall not assert any defense based on lack of jurisdiction or venue or based

upon forum non conveniens." Id.

                                      LEGAL ARGUMENT

                                              POINT I

                  THE FEDERAL COURT DOES NOT HAVE ORIGINAL
                       JURISDICTION OVER THIS MATTER

       It is axiomatic that "district courts shall have original jurisdiction of all civil actions

where the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest

and costs, and is between ... citizens of different States." 28 U.S.C §1332. "The burden of

proving the jurisdictional amount under 28 U.S.C §1332(a) is upon the party asserting it."

Elfand v. Widman, 284 F. Supp. 498, 499 (S.D.N.Y. 1968). "Jurisdiction absent jurisdictional

amounts cannot be established by waiver or consent." Crenshaw v. Great Cent. Ins. Co., 482

F.2d 1255, 1259 (8th Cir.1973).

       "While the court is bound not to dismiss a claim unless it is convinced to a legal

certainty that the plaintiff could not recover more than [the jurisdictional amount], it must also

appear that the claim was made in good faith and was not merely colorable for purposes of

jurisdiction." Id. (citing Arnold v. Troccoli, 344 2d 842 (2nd Cir. 1965). To that end, "[l]ack of

good faith in making the jurisdictional allegation can exist when from the proofs a court is

satisfied to a legal certainty that the plaintiff never was entitled to recover the jurisdictional

amount." Id.

        Here, because the Note is for $35,000 with an 8% interest rate, plaintiff cannot establish

to a legal certainty the jurisdictional amount necessary for this courts jurisdiction. Furthermore,

plaintiff has not sufficiently pleaded diversity by failing to identify the citizenship of all of its

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members.

        A.    Plaintiff Cannot Satisfy The Requirement For The Amount in Controversy


        Federal Courts have recognized that "where, as here, interest is owed as part of an

underlying contractual obligation, unpaid interest becomes part of the principal for

jurisdictional purposes." Transaero, Inc. v. La Fuerza Area Boliviana, 24 F.3d 457,461 (2d

Cir. 1994); see also, Edwards v. Bates County, 163 U.S. 269, 272 (1896) (holding that "when

the interest evidenced by a coupon has become due and payable the demand based upon the

promise contained in such coupon is no longer a mere incident of the principal indebtedness

represented by the bond, but becomes really a principal obligation."). That, however, is not

the end of the analysis.

        The Post-Default Sum Is Not Part Of The Amount In Controversy.

        In Meding v. Receptopharm, Inc., 462 F. Supp. 2d 348 (E.D.N.Y. 2006), the Court

distinguished Transaero and identified the limitations of what 'interest' may be included for

the purposes of determining the amount in controversy. It held that "[t]o determine whether a

claim is fairly characterized as interest, the Court needs to start with the Supreme Court's

recognition of interest as an 'accessory' to principal, and then look to the totality of the

circumstances of the obligation." Id. at 353. To make that determination, the Court must

ascertain whether "the outstanding amount is continually increasing and will cease accruing

only when a principal obligation is paid" and if so then "[t]hat would be indicative of

'interest.” Id.

        "Another factor would be the characterization of the components in the parties'

documentation." Id. To that end, the Court held in that case that "it seems clear to me that


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while the annual pre-maturity interest has become part of the principal obligation, the 10%

default interest has not." Id. As if speaking directly to plaintiff herein, the Court held:

                “It is one thing to include a component that, although originally
                designated as interest by the parties, has lost all financially
                distinguishing characteristics from the principal obligation. That
                is Transaero. It is quite another to include a component that not
                only originates from, but continues to exist as a mere appendage
                resulting from the failure to timely pay a principal Here, all of the
                factors point to classification of the post default obligation as
                interest. It continues to accrue post default. It is characterized as
                interest in the notes, and indeed, stands apart in that respect from
                annual, pre default interest, which is expressly reclassified as
                principal when not paid.”

Id. (emphasis added).

        The Note in this case is for $35,000 with an 8% interest rate with a Maturity date of

May 24, 2017. In the event of default, the Note set forth a 24% interest rate compounded

daily with a convoluted multiplier that almost doubles the amount owed and added further

penalties for defaulting under the Note. Undisputedly, the original amount and even the 8%

interest rate pre-default at maturity is well below the $75,000 required amount to meet the

jurisdictional requirement. The remaining penalties cannot be considered part of the principal

obligation of GNID under the Note. Another Judge in this district has recently held that the

almost identical daily penalties of $250.00 and $500.00, and “make-whole” provisions were

unconscionable penalties that violate New York’s policies, and were thrown out as those

exact claims were dismissed by the court. (See Union Capital, LLC v. Vape Holdings, Inc.

No. 16-cv-1343 (S.D.N.Y. Mar. 31, 2017). In addition, the Court in Meding recognized those

charges as "a mere appendage resulting from the failure to timely pay a principal obligation."

As such, the amount at issue is limited to the $35,000 principal and the 8% pre-default

interest.

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       Under New York law a contractually agreed upon sum for liquidated damages will be

sustained only where (1) actual damages may be difficult to determine, and (2) the sum

stipulated is not disproportionate to the possible loss. See In re United Merchants & Mfrs.,

Inc., 674 F.2d 134, 142 (2d Cir. 1982); Bell v. Ebadat, 2009 WL 1803835, at *2 (S.D.N.Y.

June 16, 2009) (Sullivan, J.) (finding liquidated damages provision an unenforceable penalty

where actual damages were a fraction of the damages called for by the clause).

       Where the damages flowing from a breach of contract are ascertainable, a contractual

provision purporting to impose a liability above and beyond those damages is an

unenforceable penalty. See U.S. Fid. & Guar. Co. v. Braspetro Oil Servs. Co., 369 F.3d 34, 71

(2d Cir. 2004) (finding contractual penalty of 0.1% of total contract price for each day of

delay penal in nature and unenforceable); N. Shipping Funds I, L.L.C. v. Icon Capital Corp.,

998 F. Supp. 2d 301, 336 (S.D.N.Y. 2014) (finding provision imposing forfeiture of upfront

fees in case of a willful breach of contract an unenforceable penalty); Bristol Inv. Fund, Inc. v.

Carnegie Int'l Corp., 310 F. Supp. 2d 556, 568 (S.D.N.Y. 2003) (finding lender’s liquidated

damages provision imposing monthly penalty for breach of contract unenforceable). In such a

case, the contractual remedy— however styled—is disproportionate to the non-breaching

party’s actual damages. See 172 Van Duzer Realty Corp. v. Globe Alumni Student Assistance

Ass'n, Inc., 24 N.Y.3d 528, 536, 25 N.E.3d 952, 957 (2014) (finding purported imposition of

damages for future rent, in addition to recovery of possession of premises, appears on its face

to be a penalty); Truck Rent-A-Ctr., Inc. v. Puritan Farms 2nd, Inc., 41 N.Y.2d 420, 424,

361 N.E.2d 1015, 1018 (1977) (“A clause which provides for an amount plainly

disproportionate to real damage is not intended to provide fair compensation but to secure

performance by the compulsion of the very disproportion. A promisor would be compelled,

out of fear of economic devastation, to continue performance and his promisee, in the event of

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default, would reap a windfall well above actual harm sustained.”).

       Whether a provision is an unenforceable penalty is a matter of law to be decided by

the court. See Rattigan v. Commodore Int'l Ltd., 739 F. Supp. 167, 169 (S.D.N.Y. 1990)

(citing Vernitron Corp. v. CF 48 Associates, 104 A.D.2d 409, 409, 478 N.Y.S.2d 933, 934

(2nd Dep't 1984)). “[A]ny doubt with respect to whether the relevant provision is an

unenforceable penalty or a permissible liquidated damages clause should be resolved in favor

of a construction which holds that the provision is a penalty.” Bristol, 310 F. Supp. 2d at 566;

see also Rattigan, 739 F. Supp. at 169-70 (quoting City of New York v. B & M Ferry Co., 238

N.Y. 52, 56, 143 N.E. 788 (1924)).

      Here, at the time of the Note was entered into, it was not at all difficult to calculate

damages for defendant’s purported breach. Under New York law, contractual expectation

damages for the non-delivery of publicly traded shares are measured as of the date of the

alleged breach. See Lucente v. International Business Machines Corp., 310 F.3d 243, 262

(2002) (finding “[t]here is simply no reason why, assuming a jury finds [defendant] liable for

breach of contract, money damages would not adequately compensate [plaintiff] for

[defendant’s] breach”); Sharma v. Skaarup Ship Mgmt. Corp., 916 F.2d 820, 825 (2d

Cir.1990) (“The damage award resulting from a breach of an agreement to purchase securities

is the difference between the contract price and the fair market value of the asset at the time of

breach, not the difference between the contract price and the value of the shares sometime

subsequent to the breach.”); Maxim Grp. LLC v. Life Partners Holdings, Inc., 690 F. Supp.

2d 293, 301 (S.D.N.Y. 2010). Thus, under the law, there is no need to engage in speculation

concerning what plaintiff might have done if it had received the conversion shares, or to be

concerned about fluctuations in the price of the shares, because the law mandates a calculation

of the damages on a single, specific date. Once the Court determines the date of the breach,

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the damages can be easily established.

       To the extent that the Note is enforceable, defendant submits that the date of the

breach is November 28 2016, the date on which defendant refused to honor the conversion

notice. Defendant’s public shares high price was, and closed at $0.02 per share on November

28, 2016. (See Decl. of Mark R. Basile, Ex. 4). Accordingly, on the date of the breach, in

accord with the Note’s terms, $5,000.00 in conversions would yield 439,560 shares with the

35% discount for which plaintiff now claims damages, were worth $8,791.29—or only 5.85%

of the egregious $150,000.00 that plaintiff seeks in this action. In a recent decision in the U.S.

District Court for the Eastern District of New York, J. Garaufis held that the amount of the

plaintiff’s claims for meeting diversity jurisdiction in Federal Court would include the actual

value of the stock subject to conversion, plus the accelerated principle. (See LG Capital

Funding, LLC v PositiveID Corporation, Index No. 1:17-cv-1297, U.S.D.C., E.D.N.Y. DKT#

21, Order denying LG a Preliminary Injunction).

       It is clear that the formula in the Damages Penalty Provision was not a fair attempt to

estimate in advance plaintiff’s actual damages under New York law because it intentionally

departs from the measurement of plaintiff’s actual loss on the date of the breach and purports

instead to award plaintiff damages based upon an unfixed, and constantly shifting “high trade

price at any time on or after the day of exercise,” at plaintiff’s choosing. Indeed, under the

literal terms of the Note, plaintiff could continue to increase its claim repeatedly in the event

that defendant’s stock price climbed during the pendency of this litigation.

           B.      The Maximum Actual Damages is below the Diversity Threshold.

       Here, the amount in controversy is $35,000.00 plus the 8% interest rate, assuming

that the Note and Stock Purchase Agreements are even enforceable. Regardless, the

$35,000.00 principal with the 8% interest rate is not enough to meet the statutory

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requirements to establish and maintain original jurisdiction. At worst, should this court

conclude that the 24% default interest rate, without more, is applicable, the total amount in

controversy is still only $35,000.00 plus 8% interest from May 24, 2016 to November 28,

2016 totaling $1,400.00, plus 24% interest from November 28, 2016 to present, totaling

$4,368.00, bringing plaintiff’s total claim to only $40,768.00, far below the statutes

jurisdictional threshold. Even if the court then adds the potential actual loss of $8,791.29 from

defendant failing to honor the stock conversion request, that would only bring plaintiff’s total

claim to $49,559.29, still well below the $75,000.00 required jurisdictional threshold. (See

id.). “A party invoking the jurisdiction of the federal court has the burden of proving that it

appears to be a ‘reasonable probability’ that the claim is in excess of the statutory

jurisdictional amount”, Tongkook Am., Inc. v Shipton Sportwear Co., 14 F. 3d 781 (2d. Cir.

1994). Here, plaintiff fails to meet the ‘reasonable probability’ test.

          C.        Plaintiff Has Failed To Plead Diversity of Citizenship

       Federal Courts require "the requisite complete diversity among defendants and

plaintiffs" for the purposes of diversity jurisdiction. Lenz v. Associated Inns & Restaurants Co.

of Am., 833 F. Supp. 362, 377 (S.D.N.Y. 1993). Here, "the partnership is a named plaintiff and,

for diversity purposes, the citizenship of a limited partnership is the citizenship of each of its

partners, both general and limited." Id.

       The Supreme Court has rejected "the contention that to determine, for diversity

purposes, the citizenship of an artificial entity, the court may consult the citizenship of less

than all of the entity's members." Carden v. Arkoma Associates, 494 U.S. 185, 195-96 (1990).

In requiring identification of all the members, the Supreme Court held that "[w]e adhere to

our oft-repeated rule that diversity jurisdiction in a suit by or against the entity depends on the

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 citizenship of all the members, the several persons composing such association, [and] each of

 its members." Id.

         GNID is a Nevada corporation. Plaintiff is a Florida limited liability Company. As a

 limited liability company, plaintiff is required to identify all of its members for the purposes

 of establishing diversity jurisdiction. Its amended complaint, however, fails to identify any of

 its limited members for the purposes of establishing diversity jurisdiction. (See DKT #18,

 Amended Cmplt. at ¶1.) As it is plaintiff's burden to establish diversity jurisdiction for its

 state law claims, plaintiff must identify the citizenship for each of its limited members.

 Having failed to do so, plaintiff has yet to establish diversity jurisdiction.


                                              POINT II

                 CONFLICTING FORUM SELECTION CLAUSES
                  VENUE IS IMPROPER IN FEDERAL COURT

  D. The Forum Selection Clause in the Note controls the issues of Jurisdiction and Venue.

        This Court must grant defendant’s motion to dismiss on the grounds that venue is

improper because the language contained in the note expressly sets venue in the courts of the

State of New York notwithstanding the forum selection clause in the Stock Purchase Agreement.

In Madden v. Midland Funding, LLC, No. 11-CV-8149 (CS), 2017 U.S. Dist. 27109 (S.D.N.Y.

Feb. 27, 2017), J. Seibel stated that “As a federal court applying state law, [I am] generally

obliged to follow the state law decisions of state intermediate appellate courts. Id. at 11 (noted

that J. Seibel in her judgment relied on the decisions of the state intermediate appellate courts).

See also West v. Am. Tel. & Tel. Co., 311 U.S. 223, 61 S. Ct. 179 (1940). (held that state law is

applied in the federal as well as the state courts and it is the duty of the federal courts in every

case to find state law and apply it rather than to prescribe a different rule, however much the


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state rule may depart from prior decisions of the federal courts). Id. at 181. While plaintiff is

essentially arguing that the enforcement of a forum selection clauses is a procedural issue and

thus federal law should apply in its interpretation, they have ignored well-established principles

of our legal system. In West, it was recognized that there are many rules of decision that are

acted upon by inferior courts which ultimately becomes state law even if it has not been before

the highest court of the state. (held that in these circumstances federal courts are not permitted

to ignore state’s rules even if it believes there is a better, applicable principle) Id. at 183

        It is a generally accepted rule in contract law that where language such as, “of” a certain

state is employed, it is an indication of sovereignty, not geography. In other words, the forum

selection clause found in Para.14 of the Note is exclusive, limiting actions arising out of this

instrument to State Courts of New York. While this court is in the State of New York

geographically, it is not a New York State court. See Sahara Sam's Oasis, LLC v. Adams Cos.,

Civil Action No. 10-0881 (RMB/AMD), 2010 U.S. Dist. 82034 (D.N.J. Aug. 12, 2010). (held

that suit was to be brought exclusively in the county of Tulsa since no other alternative

interpretation can be formulated). In Sahara Sam’s Oasis, LLC, the language employed was

“will not bring suit…in any court other than those of Tulsa County, Oklahoma…” Id. at 15. The

court in that case properly interpreted the language to confer exclusive jurisdiction in Oklahoma

state courts. (held that "of" a certain state or county, is a marker of sovereignty rather

than geography, and therefore only state courts are implicated) Id. at 19

        Generally, when an ambiguity exists in the forum selection clauses, the courts have

interpreted the ambiguity against the drafter. See Unity Creations, Inc. v. Trafcon Indus., 137 F.

Supp. 2d 108 (E.D.N.Y. 2001) (held that there is a distinction between language purporting to

identify jurisdictions versus venue of the action). The plaintiff is asking this court to enforce the

forum selection clause of the Stock Purchase Agreement that contains the contradicting term,

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“…. or in the federal courts located in the state and county of New York.” In these situations

the court must avoid any interpretation that renders a provision of either agreement superfluous.

See Hester v. Navigators Ins. Co., 917 F. Supp. 2d 290 (S.D.N.Y. 2013) (held that terms

rendering obligations contained in insurance policy “mere surplusage” is an unacceptable result

under New York Law).

        Plaintiff no doubt will rely on the recent holding in Union Capital LLC v. Vape Holdings

Inc, No. 16-cv-1343 (RJS), 2016 U.S. Dist. 72973 (S.D.N.Y. Mar. 8, 2016). In that case, Judge

Sullivan attempted to reconcile the language between the two contract’s forum selection clauses

by interpreting the clause in the Stock Purchase Agreement as defining the language “in the

Courts of the State of New York” in the Note as also meaning the Federal courts in New York.

While J. Sullivan recognized that courts have taken the exact same language and construed it to

mean at the exclusion of federal courts, he nonetheless used the outlier term in the Stock

Purchase Agreement to interpret the meaning of the clause in the Note even though the forum

selection clause in the stock purchase agreement also provided for proper venue in New York

State courts, as it does here.

        Defendant agrees with the analysis applied but believes the ultimate conclusion was in

error. The Note and SPA in our case should be read to give effect to all its provisions and to

render them consistent with each other. See Mastrobuono v. Shearson Lehman Hutton, 514 U.S.

52, 53, 115 S. Ct. 1212, 1214 (1995). In Trump-Equitable Fifth Ave. Co. v. H.R.H. Constr.

Corp., 106 A.D.2d 242, 243, 485 N.Y.S.2d 65, 66 (App. Div. 1985), a similar holding supports

the rule of law mentioned in Mastrobuono. (held that a contract should be construed so as to

give force and effect to all of its provisions). Generally, if the forum selection clause employs

mandatory language such as “shall,” “only,” or “exclusive,” specifying jurisdiction, then it will

be enforced as a mandatory forum selection clause. Caperton v. A.T. Massey Coal Co., 225 W.

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Va. 128, 132, 690 S.E.2d 322, 328 (2009). On the other hand, if jurisdictional language exists

but no further words of exclusivity are supplied then it will be treated as a permissive forum

selection clause. Id. However, the two competing forum selection clauses in our case actually

both employ mandatory language such as “shall, exclusive, and only.” Thus, defendant is

arguing that instead of using the outlier term contained in the SPA, the court should instead give

force to all the provisions contained in both forum selection clauses. Under New York's choice-

of-law rules, the law of different jurisdictions can apply to the contract claims and the tort claims

in a given action. Official Comm. of Unsecured Creditors of Lois/USA, Inc. v. Conseco Fin.

Servicing Corp. (In re Lois/USA, Inc.), 264 B.R. 69, 77 (Bankr. S.D.N.Y. 2001). Similar

reasoning should be applied here where plaintiff’s claims solely arise from the provisions in the

note and the intention of both parties regarding disputes related to the note are expressly

manifested in their own individual forum selection clauses. See Smith v. Shields Sales Corp.,

2005 NY Slip Op 7775, 22 A.D.3d 942, 802 N.Y.S.2d 764 (App. Div.) (held that the express,

distinct language in the various documents indicating different avenues of relief demonstrates

that the parties intended that the remedy would differ depending on which document was at

issue). Just as in Smith, this court should follow the same reasoning because, in our case,

plaintiff is claiming that the forum selection clause contained in the SPA applies to all disputes

arising out of both documents. That simply is not the case and would render the forum selection

clause in the note inoperative in any claim related to the transaction. Instead the court should

interpret the forum selection clauses in both documents to be invoked dependent on which

document the claim is arising from. So, in the event of a claim that invokes an issue of a federal

question dealing directly with the nature of the stock, such as a violation of the SEC’s Act of

1933, then the “…or in federal courts located in the state and county of New York,” provision




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would become applicable, and that would arise from the Stock Purchase Agreement, and not the

Note.

        J. Sullivan used three factors in Union to make his determination; that the two

instruments were executed at the same time; involved the same parties, and served the same

purpose. Our analysis only differs with regard to the final prong of J. Sullivan’s analysis.

Defendant’s Note and the SPA do not serve the same purpose. This is evident by the fact that in

the case of a breach that constitutes an “event of default” as stated in Para.8 of the note plaintiff

can fully seek the appropriate, agreed to remedies without the provisions in the SPA. See DKT

#18, Ex. B at ¶8. In Union Capital LLC, the court concluded that the SPA’s purpose was to

effectuate Vape’s sale of a convertible note to plaintiff. That is however not the purpose of the

SPA in this case. The plaintiff does not have to resort to any provision in the SPA to effectuate

the sale, conversion, nor any event of default related to the convertible Note. In fact, it’s a loan

that stands separate from the SPA. Aligned with J. Sullivan’s analysis, plaintiff should not be

able to invoke a provision of a separate written instrument that does not serve the same purpose

as the Note.

        It should also be noted that while the nomenclature utilized to characterize the issuance

of the Note “as a sale under the SPA,” the state courts have held they are loans until converted

into stock, and that until such time, the conversion feature is just an option under the Note until

invoked by the lender. See LG Capital Funding, LLC v. Sanomedics Intl. Holdings, Inc., 2015

NY Slip Op 32232(U) (Sup. Ct.) (held that plaintiff, is entitled, at its option to convert

outstanding value of note into common stock). Justice Demarest in that case noted in her

opinion that, “Although the initial transactions were loans, …………., the Securities Purchase

Agreement provided that, upon conversion, SIH was selling securities under Note 1 to it as an

investor. The conversion to stock would convert plaintiff from a lender to an investor with the

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right [*30] to share in the profits and losses of SIH.” Id.at ¶¶ 24-25. Similarly in our case,

plaintiff is claiming a breach of §4(a) of the note that simply “entitles” plaintiff to exercise an

option to purchase discounted shares, ultimately subject to market conditions. See DKT #18,

Ex. B at ¶4(a). In Vape, J. Sullivan also believed that the conversion feature of the note was

simply an “option” since the plaintiff could have requested a cash payment but instead chose the

option that is subject to changing market conditions. Again, our case is no different; §4(e) of the

note in our case states a cash reimbursement option in the event of any “Sale Event” in

connection with a note that was not redeemed or converted. Id. at ¶4(e). Plaintiff’s contention

that its claim is arising out the SPA is disingenuous because plaintiff has not established itself in

a position to invoke either the protection of the note or SPA. Plaintiff has the ability to redeem

their outstanding notes for cash but instead elected to convert a portion of its note to stock under

the terms of the Note itself. Additionally, plaintiff may not assert a valid cause of action under

§4(e) of the Note until the shares of common stock have been issued, which would change

plaintiff’s status to an “investor.”

        This very court decided in Celerant Tech. Corp. v. Overland Sheepskin Co., 2007 U.S.

Dist. 8851 (S.D.N.Y. Jan. 29, 2007), that language such as “in the courts of the State of New

York in New York County” did not include the U.S. S.D.N.Y. (noted that plaintiff attempted to

distinguish the line of cases that specifically stated the venue such as “The New York Supreme

Court” but the court was not moved at all and granted motion to remand). Opposing counsel

may argue that the inclusion of the word “federal” is enough to confer specific jurisdiction, but

the court should rule as they did in Celerant for the sake of uniformity in future cases of similar

subject matter. This court has decided in Celerant that the defendant’s argument of not

including the language “N.Y. Supreme Court” as grounds for removal was meritless and this



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ruling should be applied the same way in this case if specificity of the forum selection clause in

the Note is raised as an issue.




E.     The Test in New York for proper Venue is the ‘Claims Arisen From’ Test.


       Plaintiff’s amended complaint alleges that defendant breached five terms from the Note

and the Stock Purchase Agreement. However, only one out of the five allegations in the

amended complaint is derived from the Stock Purchase Agreement. ¶28 of the amended

complaint claims that defendant is in breach of section 3(c) of the Stock Purchase Agreement,

which deals with the issuance of the shares. See DKT #18 at ¶28. Generally, two separate

instruments executed within a reasonable period of time from each other may be construed

together and for the purpose of ascertaining what they mean may be read together as if a single

agreement. See Kent v. Universal Film Mfg. Co., 200 A.D. 539, 193 N.Y.S. 838 (App. Div.

1922) (held that the general rule should not be misconstrued to mean two separate written

instruments must be consolidated or that a separate independent provision of one, which has no

bearing on the construction of the two instruments is deemed incorporated in the other).

       The notion of viewing the documents separately has been discussed before in Knowles v.

Toone, 96 N.Y. 534 (1884) and is determinative to our case as well. In Knowles, the court held

that the letter was indeed part of the contract due to the fact that both the letter and the note had

to be in possession of the holder before the contract even came into being. In other words, the

receipt of the letter was a condition precedent that must be met in order for the holder to

purchase the note and loan the money. However, in our case there is no such condition precedent

that needs to be satisfied in order for the note to take effect. The Note and SPA should not be

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viewed as a single contract, as in Knowles because the SPA in our case has no bearing on the

construction of the Note. The Note is meant to stand-alone and its provisions are fully capable

of being enforced without reference to the SPA. Plaintiff does not require the terms set out in

the SPA in order to receive its agreed to shares of the company’s common stock. Even if this

court was to entertain plaintiff’s contention that the SPA should be viewed as a single written

instrument with the Note, it is undisputed that the condition precedent for conversion of the Note

is the submission of the “Notice to Conversion” under the Note, not the SPA itself. See DKT

#18, Ex. C, Para. 4 (a) of the Note sets out in detail the necessary actions plaintiff must take to

redeem the Note, which is the premise of default and all of plaintiffs claims are founded upon.

See DKT #18, Ex. B at ¶4(a).

       Defendant does not argue that upon submission of the notice to convert, the shares were

not issued to plaintiff. Defendant is asking this court to let a State Court of NY to hear the

dispute as set out in the forum selection clause of the note, since plaintiff’s cause of action stems

from that specific document. This case is almost factually analogous to the Kent case in that, the

Stock Purchase Agreement’s competing forum selection clause is irrelevant to our case at

hand. In Kent, Exhibit D comprised of the agreement that plaintiff would assign his remainder

interest to defendant and it also contained the jurisdictional clause in question; simultaneously

Exhibit E was also executed. Exhibit E simply referred to Exhibit D, in that the assignment was

not to affect plaintiff’s rights set out in the original agreement (Ex. A). In other words, the

earlier formed original agreement embodied in Exhibit A was still to be valid and the terms set

out in the original agreement were basically “recited” in Exhibit E serving as a “confirmation”

of the parties intent to continue their obligations as joint lessees even though defendant owned

entire interest. In Teletech Europe B.V. v Essar Servs. Mauritius, 2011 Slip Op 02957 (83 AD 3d

511), the court noted on Appeal that the “Supreme Court correctly noted that, for purposes of

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interpreting contemporaneous agreements which are part of the same transaction, the

instruments should be read together (see Nau v Vulcan Rail & Const. Co., 286 NY 188, 197

[1941]). However, it does not follow that the arbitration clause in the STA applies to this

dispute. Indeed, we find that it is the escrow agreement, not the STA, that contains the

conditions precedent for release of the escrow funds.”

       In this case, the Stock Purchase Agreement is nothing more than a recitation of the

 terms set out in the note. The “Notice of Conversion” condition precedent is derived from the

 Note itself, not the SPA. See DKT#18, Ex “B” at ¶4(a). Even the claim from plaintiff

 alleging breach of section 3(c) of the Stock Purchase Agreement is a recital of the terms set

 out in the note, specifically, §6, §12, and §8(h)(n). See DKT #18, Ex. B at ¶6, ¶¶8(h),(n), ¶12

 Section 3(c) recites the requirement from defendant to validly issue shares upon conversion,

 maintain share reserve requirement, shares be fully paid for free from liens, and that plaintiff

 can not incur personal liability upon holder there of in respect to other shareholders. See

 DKT # 18, Ex. A at ¶3(c). Plaintiff has mistakenly drafted its complaint claiming these

 violations stem from the Stock Purchase Agreement. This would be true if both instruments

 were viewed as an integrated, consolidated writing but defendant is contending that regardless

 of the issue of integration, the claims all arise from the note and thus the forum selection

 clause conferring jurisdiction and venue exclusively to state courts should prevail.

        In Kent, the object of Exhibit E is “… to explain the terms and conditions of the

 assignment.” Just as in our case the Stock Purchase Agreement is identically drafted to

 further explain the terms and conditions of the Note pertaining to the plaintiff’s rights and

 obligations upon conversion into stock.



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      In CooperVision, Inc. v. Intek Integration Tech., Inc., 2005 NY Slip Op 25060, 7 Misc.

3d 592, 794 N.Y.S.2d 812 (Sup. Ct.), the defendant was claiming that a forum selection

clause found in one of the documents was “incorporated by reference” into the entire

agreement. (held that reference to the agreement containing the forum selection clause absent

an express provision making the forum selection clause applicable to desired instrument,

clearly demonstrated that parties intended clause to only apply where found). Our case is

similar in that the SPA is merely a confirmation of the over-arching or master agreement that

is the note. §5(e) of the SPA, serves the same purpose as the “entirety of agreement

provision” found in the integration agreement in CooperVision. (held that reference to the

agreement containing forum selection clause was only for the purpose of identifying it as one

of the documents that comprised the overall agreement of the parties) (also noted that a

reference by the parties to an extraneous writing for a particular purpose makes it a part of

their agreement only for the purpose specified). See DKT # 18, Ex. A at ¶5(e). §3(c) of the

SPA which plaintiff’s claim is based on references the to Note, which is an extraneous

writing with regard to the SPA itself, and applying the same analysis from CooperVision the

court must only assess the purpose of its mention (the note) in the context of the SPA. This

court must ask what was the particular purpose of referencing the note in §3(c) of the SPA?

§3(c) is explicitly stating the particular purpose of the note in the SPA which is to make clear

that issues related to the conversion of the note is to be settled in accordance with the terms

set out in the Note. The SPA in this case is nothing more than a document that effects the

nature of the stock under an “option” that is exercised in the context of an outstanding debt

evidenced by the Note, regardless of what the documents purport to say. Without the



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defendants underlying obligations under the Note, the plaintiff could never convert the debt

into shares and would require the plaintiff to have purchased the shares directly from the

defendant at the start of this transaction in order to be an “investor”. Thus, defendant’s

contention that the forum selection clause of the Note should prevail is sound.




                                        CONCLUSION

       For the foregoing reasons set forth above, Defendant GeneSYS ID, Inc., requests that

the Court grant its motion to dismiss the amended complaint for lack of jurisdiction pursuant

to 28 U.S.C §1332, or alternatively, to dismiss the amended complaint pursuant to FRCP

12(b)(1) and 12(b)(3) for lack of jurisdiction and lack of venue, as well as awarding

defendants legal fees and costs.

                                             Respectfully submitted,

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